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 1   JOSEPH SCHLESINGER, Bar #87692
     Acting Federal Defender
 2   Matthew C. Bockmon, Bar #161566
     Assistant Federal Defender
 3   801 I Street, 3rd. Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     MANDA LYNN WENTZLOFF
 6
 7
 8                                  IN THE UNITED STATES DISTRICT COURT
 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )                CASE NO. CR-S-11-476 LKK
                                           )
12                     Plaintiff,          )               STIPULATION AND ORDER TO CONTINUE
                                           )               STATUS CONFERENCE AND TO EXCLUDE
13         v.                              )               TIME PURSUANT TO THE SPEEDY TRIAL
                                           )               ACT
14                                         )
     MANDA LYNN WENTZLOFF,                 )                Date: April 9, 2013
15                                         )                Time: 9:15 a.m.
                       Defendant.          )                Judge: Lawrence K. Karlton
16   _____________________________________ )
17          It is hereby stipulated and agreed to between the United States of America through JARED DOLAN,
18   Assistant U.S. Attorney, and defendant, MANDA LYNN WENTZLOFF, by and through her counsel,
19   MATTHEW C. BOCKMON, Assistant Federal Defender, that the status conference set for Tuesday, February
20   26, 2013, be continued to Tuesday, April 9, 2013, at 9:15 a.m.
21          The reason for this continuance is because additional time is needed for defense preparation and for
22   meetings between the parties with the goal being to resolve the case by way of a disposition.
23          It is further stipulated that the time period from the date of this stipulation, February 21, 2013, through
24   and including the date of the new status conference hearing, April 9, 2013, shall be excluded under the Speedy
25   Trial Act (18 U.S.C. §3161(h)(7)(A) &(B)(iv) and Local Code T4, due to the need to provide defense counsel
26   with the reasonable time to prepare, and that the ends of justice to be served by granting the continuance
27   outweigh the best interests of the public and the defendant in a speedy trial.
28
               Case 2:11-cr-00476-TLN Document 59 Filed 02/27/13 Page 2 of 2


 1   Dated: February 21, 2013
 2                                                              Respectfully submitted,
 3                                                              JOSEPH SCHLESINGER
                                                                Acting Federal Defender
 4
                                                                /s/ Matthew C. Bockmon
 5                                                              MATTHEW C. BOCKMON
                                                                Assistant Federal Defender
 6                                                              Attorney for Defendant
                                                                MANDA LYNN WENTZLOFF
 7
     Dated: February 21, 2013                                   BENJAMIN B. WAGNER
 8                                                              United States Attorney
 9                                                               /s/ Matthew C. Bockmon for
                                                                JARED DOLAN
10                                                              Assistant U.S. Attorney
                                                                Attorney for Plaintiff
11
12                                                  ORDER
13          Based on the reasons set forth in the stipulation of the parties filed on February 26, 2013, and good
14   cause appearing therefrom, the Court adopts the stipulation of the parties in its entirety. IT IS HEREBY
15   ORDERED that the status conference currently scheduled for Tuesday, February 26, 2013, be vacated and that
16   the case be set for Tuesday, April 9, 2013, at 9:15 a.m. The Court finds that the ends of justice served by
17   granting such a continuance outweigh the best interests of the public and the defendant in a speedy trial.
18   Accordingly, IT IS HEREBY ORDERED that, for the reasons stated in the parties’ February 26, 2013,
19   stipulation, the time within which the trial of this matter must be commenced under the Speedy Trial Act is
20   excluded during the time period from the date of this stipulation, February 21, 2013, through and including
21   April 9, 2013, pursuant to 18 U.S.C. §3161(h)(7)(A)&(B)(iv) [reasonable time to prepare] and Local Code
22   T4.
23
     DATED: February 26, 2013
24
25
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28                                                        2
